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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:20-cv-02400-JLS-KES                                    Date: January 13, 2022
  Title: Microvention, Inc. v. Balt USA, LLC et al

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

               Melissa Kunig                                        N/A
               Deputy Clerk                                    Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANTS:

               Not Present                                     Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER DENYING AS MOOT PLAINTIFF
               MICROVENTION, INC.’ FOR LEAVE TO FILE SECOND
               AMENDED COMPLAINT (Doc. 56)

         Before the Court is Plaintiff MicroVention, Inc.’s Motion for Leave to File Second
  Amended Complaint. (Mot., Doc. 56.) On September 28, 2021, the Court granted the
  parties’ Stipulation Regarding Consent to File MicroVention’s Second Amended
  Complaint. (Order, Doc. 90.) Accordingly, on September 29, 2021, MicroVention filed
  a Second Amended Complaint. (SAC, Doc. 91.) Therefore, the Motion for Leave to File
  Second Amended Complaint is denied as moot, and the hearing set for January 14, 2022
  at 10:30am is VACATED.

        IT IS SO ORDERED.

                                                             Initials of Deputy Clerk: mku




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